               Case 15-10262-JMC-7A                        Doc 55         Filed 07/30/18            EOD 07/30/18 15:56:18                      Pg 1 of 4

                                                          Form 1
                                      Individual Estate Property Record and Report                                                                  Page: 1-1

                                                       Asset Cases
Case No.: 15-10262 JMC                                                                   Trustee Name:      (340480) Michael J. Hebenstreit
Case Name:    BOYD, THOMAS MARTIN                                                        Date Filed (f) or Converted (c): 12/17/2015 (f)
              BOYD, MARNITA LYNN
                                                                                         § 341(a) Meeting Date:       01/20/2016
For Period Ending:      06/30/2018                                                       Claims Bar Date:      05/18/2016

                                  1                              2                      3                      4                   5                     6

                          Asset Description                   Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
               (Scheduled And Unscheduled (u) Property)     Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                               Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                              Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                         and Other Costs)

    1       150 Yorkshire Blvd West, Indianapolis, IN         270,000.00                    8,775.00                                    0.00                          FA
            46229;

    2       Lot 432 Foxcliff Estates Sec 23, North               5,000.00                   5,000.00                                    0.00                 5,000.00
            Rampage R

    3       10601 Maze Road, Acton, IN; Farm land;               8,788.01                   8,788.01                               1,103.00                  7,685.01
            Scheaffer

    4       Deposits of money - : First Financial Bank               100.00                      0.00                                   0.00                          FA
            Check

    5       Miscellaneous Household Goods and                    1,000.00                        0.00                                   0.00                          FA
            Furnishings; I

    6       Miscellaneous Wearing                                    200.00                      0.00                                   0.00                          FA
            Apparel; In Debtor's Poss

    7       New York Life Insurance Policy                             0.00                      0.00                                   0.00                 1,000.00
            #62793633; Univer

    8       New York Life Insurance Policy                             0.00                      0.00                                   0.00                 1,000.00
            #62793636; Univer

    9       New York Life Insurance Policy #6139;                      0.00                      0.00                                   0.00                 1,000.00
            Whole Life

   10       U.S. Financial Life Insurance Co.                    2,138.02                        0.00                                   0.00                 3,000.00
            Policy; policy

   11       U.S. Financial Life Insurance Co Policy;             1,914.91                        0.00                                   0.00                 3,000.00
            Insured

   12       : Lincoln Financial Group 403(b); In                 4,843.12                        0.00                                   0.00                          FA
            Lincoln
            Fin

   13       : Fifth Third Securities IRA; In Fifth Third         2,662.63                        0.00                                   0.00                          FA
            Ban

   14       : Prudential Advanced Series APEX II                 2,557.35                        0.00                                   0.00                          FA
            Annuity;
            In

   15       : Swissray International Inc 401(k); In              1,019.64                        0.00                                   0.00                          FA
            John
            Han

   16       : Ameritrade Clearing Inc. IRA Rollover;                   0.12                      0.00                                   0.00                          FA
            In
            Amer

   17       : Ameren Investments; In Ameren's                         42.23                      0.00                                   0.00                          FA
            possession

   18       Tax refunds owed to you - Federal: 2015                    0.00                      0.00                                   0.00                          FA
            State an

   19       1999 Dodge Dakota; 184,000+                          1,010.00                        0.00                                   0.00                          FA
            miles; fair conditio
               Case 15-10262-JMC-7A                        Doc 55         Filed 07/30/18           EOD 07/30/18 15:56:18                       Pg 2 of 4

                                                           Form 1
                                       Individual Estate Property Record and Report                                                                 Page: 1-2

                                                        Asset Cases
Case No.: 15-10262 JMC                                                                  Trustee Name:      (340480) Michael J. Hebenstreit
Case Name:    BOYD, THOMAS MARTIN                                                       Date Filed (f) or Converted (c): 12/17/2015 (f)
              BOYD, MARNITA LYNN
                                                                                        § 341(a) Meeting Date:       01/20/2016
For Period Ending:       06/30/2018                                                     Claims Bar Date:      05/18/2016

                                   1                             2                     3                      4                    5                     6

                           Asset Description                  Petition/        Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled       (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                               Values                Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                             Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                        and Other Costs)

   20       2012 Chevy Impala LT; Good                         11,678.00                        0.00                                    0.00                          FA
            Condition; In Debtor'

   21       2012 Chevy Impala LT; 50,000                       11,678.00                        0.00                                    0.00                          FA
            miles; good conditi

  21        Assets Totals (Excluding unknown values)         $324,632.03                $22,563.01                                $1,103.00              $21,685.01



Major Activities Affecting Case Closing:

                                Life insurance policies; real estate; business interests
                                6/24/17 follow up with Seth re Foxcliff lot; ltr atty re interst in LLC and real estate
                                10/06/17 - letter to shareholders of Sheaffer Farm, LLC
                                06/04/18 - filed Motion to Sell
                                06/18/18 - paid filing fee on Motion to Sell

Initial Projected Date Of Final Report (TFR): 12/17/2017                      Current Projected Date Of Final Report (TFR):            12/31/2018


                      07/30/2018                                                             /s/Michael J. Hebenstreit
                           Date                                                              Michael J. Hebenstreit
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                                                                Form 2
                                                                                                                                                       Page: 2-1
                                                Cash Receipts And Disbursements Record
Case No.:                  15-10262 JMC                                    Trustee Name:                         Michael J. Hebenstreit (340480)
                           BOYD, THOMAS MARTIN
Case Name:                                                                 Bank Name:                            Rabobank, N.A.
                           BOYD, MARNITA LYNN
                                                                           Account #:                            ******3200 Checking
Taxpayer ID #:             **-***3830
                                                                           Blanket Bond (per case limit): $1,190,587.50
For Period Ending: 06/30/2018
                                                                           Separate Bond (if applicable): N/A

    1          2                            3                                     4                                   5                   6                      7

  Trans.    Check or          Paid To / Received From         Description of Transaction            Uniform        Deposit           Disbursement       Account Balance
   Date      Ref. #                                                                                Tran. Code        $                     $

 05/10/18     {3}          Marnita L Boyd                  Repayment of the 2015 and 2016          1110-000            1,103.00                                       1,103.00
                                                           distributions from Scheaffer Farm
                                                           LLC

 05/31/18                  Rabobank, N.A.                  Bank and Technology Services            2600-000                                    10.00                  1,093.00
                                                           Fees

 06/18/18     101          U.S. BANKRUPTCY CLERK           Filing fee on Motion to Sell (Doc       2700-000                                   181.00                    912.00
                                                           52)

 06/29/18                  Rabobank, N.A.                  Bank and Technology Services            2600-000                                    10.00                    902.00
                                                           Fees

              Account          ******3200 Checking
                                  Balance Forward                                     0.00
                       1                    Deposits                          1,103.00               1                    Checks                                181.00
                       0          Interest Postings                                   0.00           2          Adjustments Out                                  20.00
                                                Subtotal                      1,103.00               0            Transfers Out                                      0.00
                       0            Adjustments In                                    0.00                                   Total                              201.00
                       0                Transfers In                                  0.00
                                                   Total                      1,103.00


                                                                                             Page Subtotals:         $1,103.00             $201.00       true




{ } Asset Reference(s)                                                                                                           ! - transaction has not been cleared
             Case 15-10262-JMC-7A                      Doc 55   Filed 07/30/18          EOD 07/30/18 15:56:18                     Pg 4 of 4

                                                       Form 2
                                                                                                                                    Page: 2-2
                                       Cash Receipts And Disbursements Record
Case No.:           15-10262 JMC                                Trustee Name:                   Michael J. Hebenstreit (340480)
                    BOYD, THOMAS MARTIN
Case Name:                                                      Bank Name:                      Rabobank, N.A.
                    BOYD, MARNITA LYNN
                                                                Account #:                      ******3200 Checking
Taxpayer ID #:      **-***3830
                                                                Blanket Bond (per case limit): $1,190,587.50
For Period Ending: 06/30/2018
                                                                Separate Bond (if applicable): N/A


                                       Net Receipts:               $1,103.00
                           Plus Gross Adjustments:                     $0.00
                         Less Payments to Debtor:                      $0.00
                 Less Other Noncompensable Items:                      $0.00

                                         Net Estate:               $1,103.00




                                                                                                   NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                        NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 ******3200 Checking                                $1,103.00          $201.00                    $902.00

                                                                                    $1,103.00                  $201.00               $902.00
